     Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 1 of 52




                              No. 21-15667

                                   In the

   United States Court of Appeals
                     For the Ninth Circuit
                           __________________

       WILLIAM KIVETT, BERNARD BRAVO, and LISA BRAVO,
                                                    Plaintiffs-Appellees,
                                     v.

                          FLAGSTAR BANK, N.A.,
                                                   Defendant-Appellant.
                            _________________

           On Appeal from the United States District Court
               for the Northern District of California
                 Honorable William Haskell Alsup
                       Case No. 3:18-cv-05131
                        __________________
   SUPPLEMENTAL BRIEF OF DEFENDANT-APPELLANT
              FLAGSTAR BANK, N.A.
                 __________________
David C. Powell            Kathryn M. Barber          Jonathan Y. Ellis
MCGUIREWOODS LLP           Brian D. Schmalzbach       MCGUIREWOODS LLP
Two Embarcadero Center     MCGUIREWOODS LLP           501 Fayetteville Street
Suite 1300                 Gateway Plaza              Suite 500
San Francisco, CA 94111    800 E Canal Street         Raleigh, NC 27601
T: (415) 844-1970          Richmond, VA 23219         T: (919) 755-6688
                           T: (804) 775-1227          jellis@mcguirewoods.com



        Counsel for Defendant-Appellant Flagstar Bank, N.A.
         Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 2 of 52




                                 TABLE OF CONTENTS

                                                                                                Page
TABLE OF AUTHORITIES ..................................................................... ii
INTRODUCTION ..................................................................................... 1
BACKGROUND ....................................................................................... 3
I.     National banks exercise their powers to administer
       mortgage escrow accounts consistent with federal law.................. 3
II.    Plaintiffs seek to apply California’s IOE law to Flagstar, a
       national bank. ................................................................................. 8
III.   The Supreme Court provides new guidance on NBA
       preemption of state IOE laws ....................................................... 10
ARGUMENT .......................................................................................... 14
I.     California Civil Code § 2954.8(a) is preempted. ........................... 14
       A.      Cantero requires a “nuanced comparative analysis”
               assessing similarity to other preempted and non-
               preempted state laws. .......................................................... 14
       B.      California Civil Code § 2954.8(a) significantly
               interferes with a national bank’s exercise of federal
               banking powers. ................................................................... 20
               1.      National banks have broad authority to
                       administer mortgage escrow accounts........................ 20
               2.      California Civil Code § 2954.8(a) burdens that
                       broad authority in a similar manner as other
                       preempted state laws. ................................................. 22
               3.      California Civil Code § 2954.8(a) does not
                       resemble non-preempted state laws. .......................... 29
       C.      Sound federal banking policy confirms that conclusion. ..... 34
II.    This Court’s pre-Cantero decision in Lusnak cannot save
       California Civil Code § 2954.8(a). ................................................. 38
CONCLUSION ....................................................................................... 42



                                                   i
         Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 3 of 52




                              TABLE OF AUTHORITIES

                                                                                          Page(s)

Cases

Anderson National Bank v. Luckett,
  321 U.S. 233 (1944) ................................................................. 16, 30, 31

Barnett Bank of Marion County, N.A. v. Nelson,
  517 U.S. 25 (1996) .......................................................... 4, 17, 19-21, 28

Buckman Co. v. Plaintiffs’ Legal Comm.,
  531 U.S. 341 (2001) ............................................................................. 29

Cantero v. Bank of Am., N.A.,
  49 F.4th 121 (2d Cir. 2022) ............................................................ 10-11

Cantero v. Bank of America, N.A.,
  602 U.S. 2025 (2024) ................................................................... passim

Close v. Sotheby’s, Inc.,
  894 F.3d 1061 (9th Cir. 2018) ............................................................. 40

Easton v. Iowa,
  188 U.S. 220 (1903) .................................................................. 28-29, 35

Fidelity Federal Savings & Loan Association v. De la Cuesta,
  458 U.S. 141 (1982) ............................................................. 15-16, 25-26

First National Bank of San Jose v. California,
   262 U.S. 366 (1923) ....................................................................... 31, 35

Franklin National Bank of Franklin Square v. New York,
  347 U.S. 373 (1954) ................................................................. 15, 18, 23

Geier v. Am. Honda Motor Co., Inc.,
  529 U.S. 861 (2000) ............................................................................. 28

Lusnak v. Bank of Am., N.A.,
  883 F.3d 1185 (9th Cir. 2018) ..................................................... 2, 9, 10



                                                  ii
          Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 4 of 52




McClellan v. Chipman,
  164 U.S. 347 (1896) ....................................................................... 16, 33

Miller v. Gammie,
  335 F.3d 889 (9th Cir. 2003) ..................................................... 2, 38, 40

National Bank v. Commonwealth,
  76 U.S. (9 Wall.) 353 (1869) ..................................................... 16, 32-33

Talbott v. Bd. of Cnty. Comm’rs,
  139 U.S. 438 (1891) ............................................................................. 19

Watters v. Wachovia Bank, N.A.,
  550 U.S. 1 (2007) ....................................................................... 3, 19, 35

Statutes

12 U.S.C. § 1 et seq. ................................................................................... 3

12 U.S.C. § 24 ...................................................................................... 3, 22

12 U.S.C. § 25b ................................................................................ 4, 8, 13

12 U.S.C. § 371(a) ................................................................................ 3, 21

12 U.S.C. § 1828(o) ............................................................................. 21-22

12 U.S.C. § 2601 et seq. ............................................................................. 5

15 U.S.C. § 1601 et seq. ............................................................................. 7

15 U.S.C. § 1639d ................................................................ 7, 9, 27, 28, 42

Cal. Bus. & Prof. Code § 17200 ................................................................. 9

Cal. Civil Code § 2954.8(a) ............................................................. passim

Conn. Gen. Stat. § 49-2a ..................................................................... 6, 35

Iowa Code § 524.905(2) ............................................................................. 6

Mass. Gen. Laws ch. 183, § 61 .................................................................. 6



                                                    iii
          Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 5 of 52




Md. Code Ann., Com. Law § 12-109(b)(1) ........................................... 6, 35

Me. Rev. Stat. Ann. tit. 33, § 504 .............................................................. 6

Minn. Stat. § 47.20 .............................................................................. 6, 35

N.H. Rev. Stat. Ann. § 383-B:3-303(a)(7)(E) ....................................... 6, 35

N.Y. G.O.L. § 5-601 ............................................................................. 6, 35

Or. Rev. Stat. § 86.205 .............................................................................. 6

Or. Rev. Stat. § 86.245 .............................................................................. 6

R.I. Gen. Laws § 19-9-2 ....................................................................... 6, 35

Utah Code Ann. § 7-17-3 ..................................................................... 6, 35

Vt. Stat. Ann. tit. 8, § 10404 ..................................................................... 6

Wis. Stat. § 138.052(5) .............................................................................. 6

Rules and Regulations

12 C.F.R. § 5.20(f)(i) ................................................................................ 36

12 C.F.R. § 34.4(a) ................................................................................... 22

12 C.F.R. § 1024.17 ................................................................................... 5

Other Authorities

Br. in Op., Flagstar Bank, N.A. v. Kivett,
  No. 22-349 (U.S. Dec. 13, 2022). ......................................................... 11

Br. of Amici Curiae Bank Policy Institute et al.,
  No. 18-212, 2018 WL 4464737 (Sept. 17, 2018) ................................. 25

Br. of Amicus Curiae Flagstar Plaintiffs, Cantero v. Bank of
  Am., N.A.,
  No. 22-529 (Dec. 15, 2023) ................................................................. 39




                                                   iv
         Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 6 of 52




Br. of the Bank Policy Institute, et al., Cantero v. Bank of
  Am., N.A.,
  No. 21-400 (2d Cir. Oct. 25, 2024) ...................................................... 36

Bruce E. Foote, Cong. Rsch. Serv., Mortgage Escrow
  Accounts: An Analysis of the Issues (1998) ........................................... 4

FDIC, National Rate on Non-Jumbo Deposits (less than
  $100,000): 12-Month CD (Mar. 29, 2021),
  https://fred.stlouisfed.org/ series/CD12NRN ...................................... 25

Flagstar Bank, N.A. v. Kivett,
  No. 22-349 (U.S. June 10, 2024) ................................................... 13, 38

Government Accountability Office, Study of the Feasibility of
  Escrow Accounts on Residential Mortgages Becoming
  Interest Bearing (1973), https://www.gao.gov/assets/b-
  114860-091984.pdf; ............................................................................... 6

H.R. 3542, 102d Cong. (1991).................................................................... 6

H.R. 27, 103d Cong. (1993)........................................................................ 6

OCC Br., Ill. Bankers Ass’n v. Raoul,
  No. 1:24-cv-07307 (N.D. Ill. Oct. 2, 2024) ........................................... 28

OCC Interpretive Letter No. 1041,
  2005 WL 3629258 (Sept. 28, 2005) ................................................. 4, 22

OCC, Interpretive Ruling Concerning National Bank Service
  Charges,
  48 Fed. Reg. 54,319 (Dec. 2, 1983)...................................................... 37

Pet. for Writ of Certiorari, Cantero v. Bank of Am., N.A.,
  No. 22-529 (U.S. Dec. 5, 2022) ............................................................ 11

Petrs.’ Br., Cantero v. Bank of Am., N.A.,
  No. 22-529 (U.S. Dec. 8, 2023) ............................................................ 12

U.S. Br., Cantero v. Bank of Am., N.A.,
  No. 22-529 (U.S. Dec. 15, 2023) .......................................................... 12


                                                  v
        Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 7 of 52




U.S. Br., Flagstar Bank, N.A. v. Kivett,
  Nos. 22-349 and 22-529 (U.S. Aug. 30, 2023). .................................... 11




                                         vi
       Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 8 of 52




                             INTRODUCTION

     Under the Supreme Court’s decision in Cantero v. Bank of America,

N.A., a state law “significantly interfere[s] with the exercise by [a]

national bank of its powers” and is thus preempted if a “nuanced

comparative analysis” (1) assessing the text and structure of the relevant

laws, (2) comparing the laws and interference at issue with those

involved in other precedents, and (3) employing common sense, shows

that the law interferes with federal banking powers in the same way as

other laws the Supreme Court has held preempted and is unlike the laws

the Supreme Court has held permissible. 602 U.S. 205, 220 (2024). This

test requires a qualitative, precedent-heavy assessment of the kind of

interference a state law poses.

     Applying that test here leads to one conclusion: California Civil

Code § 2954.8(a)’s requirement for national banks like Flagstar Bank,

N.A., to pay interest on funds held in mortgage escrow accounts is

preempted under the Dodd-Frank Act’s codified standard. California’s

law limits the exercise of broad federal banking powers in the same or

similar manner as other preempted state laws. In so doing, it interferes

with the flexibility and efficiency Congress wanted banks to wield in the



                                        1
       Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 9 of 52




mortgage lending realm. And it is nothing like the laws the Supreme

Court has held permissible. It is not a generally applicable law governing

a bank’s daily course of business, nor does it simply require a federal

bank to perform duties that federal law already commands. Cantero’s

application here is thus straightforward.

     Contrary to Plaintiffs’ contentions, this Court’s pre-Cantero

decision in Lusnak v. Bank of America does not require a different result.

883 F.3d 1185 (9th Cir. 2018).           The Supreme Court vacated and

remanded the initial panel decision here for consideration of its new

controlling guidance in Cantero.         The Court should undertake that

analysis without a thumb on the scale for its pre-Cantero National Bank

Act precedent. This Court’s cases require panels to disregard circuit

precedent that is “clearly irreconcilable” with “intervening higher

authority.” Miller v. Gammie, 335 F.3d 889, 893 (9th Cir. 2003) (en banc).

And Cantero requires a preemption analysis that is directly opposed to

Lusnak’s categorical and incorrect preemption rule.             Lusnak is thus

effectively overruled. This Court should reverse the district court and

remand to enter judgment for Flagstar.




                                        2
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 10 of 52




                              BACKGROUND

I.   National banks exercise their powers to administer
     mortgage escrow accounts consistent with federal law.

     “The United States maintains a dual system of banking, made up

of parallel federal and state banking systems” that “co-exist and

compete.” Cantero, 602 U.S. at 209-10. Federally chartered banks are

principally subject to federal oversight and regulation, while state-

chartered banks are “subject to additional state oversight and

regulation.” Id. at 210.

     The National Bank Act (NBA), 12 U.S.C. § 1 et seq., established the

federal banking system in 1863 and defines that system’s exclusive

sphere. See Cantero, 602 U.S. at 210; Watters v. Wachovia Bank, N.A.,

550 U.S. 1, 13-14 (2007). The NBA grants federally chartered banks

enumerated and incidental powers, including the express authority to

“make, arrange, purchase or sell loans or extensions of credit secured by

liens on interests in real estate” and all “incidental powers as shall be

necessary to carry on the business of banking.” 12 U.S.C. §§ 24, 371(a).

As amended by Dodd-Frank in 2010, the NBA expressly preempts any

“State consumer financial law” that, “in accordance with the legal

standard for preemption” set forth in Barnett Bank of Marion County,


                                       3
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 11 of 52




N.A. v. Nelson, 517 U.S. 25 (1996), “prevents or significantly interferes

with the exercise by the national bank of its powers.”                12 U.S.C.

§ 25b(b)(1)(B).

     The Office of the Comptroller of the Currency (OCC), national

banks’ primary federal regulator, has long recognized that national

banks possess the incidental powers to provide, establish, and service

mortgage escrow accounts. OCC Interpretive Letter No. 1041, 2005 WL

3629258, at *2 (Sept. 28, 2005). And because such accounts are an

important risk-mitigation tool for both mortgage lenders and borrowers,

national banks often employ them when extending or servicing

residential mortgage loans. See Cantero, 602 U.S. at 210 (“Mortgage-

escrow accounts are designed to protect both the bank and the

borrower.”).      Mortgage escrow accounts allow borrowers to make

installment payments into escrow, which lenders then use to pay the

lump-sum amounts the borrowers owe in property taxes, insurance

premiums, and related charges. This system simplifies budgeting for

borrowers while avoiding issues like tax liens, lapses in insurance

coverage, or foreclosure. See id.; see also Bruce E. Foote, Cong. Rsch.

Serv., Mortgage Escrow Accounts: An Analysis of the Issues 1-2 (1998).



                                       4
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 12 of 52




     Federal law “extensively regulates” mortgage escrow accounts.

Cantero, 602 U.S. at 211. Most directly, the Real Estate Settlement

Procedures Act of 1974 (RESPA), 12 U.S.C. § 2601 et seq., governs

national banks’ administration of mortgage escrow accounts. Cantero,

602 U.S. at 211; see 12 U.S.C. §§ 2605, 2609. Among other requirements,

RESPA requires lenders to make timely payments from escrow accounts

when charges become due and to promptly return any escrowed funds

after a mortgage loan is paid off. See 12 U.S.C. § 2605(g). The law also

limits the amount that a lender may require a borrower to deposit in any

escrow account each month. See id. § 2609(a). And it requires lenders to

provide borrowers with certain statements and notifications about

escrow account balances and the charges accounts are intended to cover.

See id. § 2609(b)-(c). The statute even imposes civil penalties for failures

to transmit required statements. Id. § 2609(d). RESPA’s implementing

regulation, Regulation X, further details extensive requirements for

performing    escrow    account     analyses,    providing     escrow    account

statements, and disbursing escrow funds.             See generally 12 C.F.R.

§ 1024.17.




                                       5
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 13 of 52




     But RESPA “does not mandate that national banks pay interest to

borrowers on the balances of their escrow accounts.” Cantero, 602 U.S.

at 211 (emphasis added).        In fact, Congress has considered such a

requirement three times—but has never adopted it.                See generally,

Government Accountability Office, Study of the Feasibility of Escrow

Accounts on Residential Mortgages Becoming Interest Bearing (1973),

https://www.gao.gov/assets/b-114860-091984.pdf; H.R. 3542, 102d Cong.

(1991); H.R. 27, 103d Cong. (1993).

     Meanwhile, several States have taken a different approach. At

least twelve States including California have their own unique laws

requiring banks to pay interest on funds held in mortgage escrow

accounts. 1 Each of these interest-on-escrow (IOE) laws differs from the

others by imposing different interest rates that are calculated differently

and apply to different properties. Relevant to this action, California Civil


1 See Conn. Gen. Stat. § 49-2a; Mass. Gen. Laws ch. 183, § 61; Md. Code

Ann., Com. Law § 12-109(b)(1); Me. Rev. Stat. Ann. tit. 33, § 504; Minn.
Stat. § 47.20, subdiv. 9(a); N.H. Rev. Stat. Ann. § 383-B:3-303(a)(7)(E);
N.Y. G.O.L. § 5-601; Or. Rev. Stat. §§ 86.205, 86.245; R.I. Gen. Laws § 19-
9-2; Utah Code Ann. § 7-17-3; Vt. Stat. Ann. tit. 8, § 10404. Wisconsin no
longer requires paying interest on escrow for mortgage loans originated
after April 2018, see Wis. Stat. § 138.052(5)(a)-(am), while Iowa law
permits but does not require paying interest on escrow funds, Iowa Code
§ 524.905(2).

                                       6
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 14 of 52




Code § 2954.8(a), requires financial institutions to pay at least 2%

interest annually on escrow accounts associated with “loans upon the

security of real property” located in California and “containing only a

one-to four-family residence.”

     Finally, although it does not apply here, the Truth in Lending Act

(TILA), as amended by Dodd-Frank, 15 U.S.C. § 1601 et seq., also

addresses mortgage escrow accounts for certain higher-priced mortgage

loans (a category that does not include Plaintiffs’ loans). TILA requires

creditors—whether state banks, federally chartered banks, or other

lenders—to establish escrow accounts for that specific subset of mortgage

loans. See id. § 1639d(a)-(b). A creditor required to establish an escrow

account under TILA’s Section 1639d must pay interest on the amount

held in the account, “[i]f prescribed by applicable State or Federal Law,”

“in the manner as prescribed by that applicable State or Federal law.”

Id. § 1639d(g)(3).




                                       7
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 15 of 52




II.   Plaintiffs seek to apply California’s IOE law to Flagstar, a
      national bank.

      Flagstar is a national bank engaged in mortgage lending and

servicing. 2 2-ER-206. Like many national banks, Flagstar uses escrow

accounts to reduce the risks associated with individual mortgage loans.

2-ER-207. Flagstar did so for Plaintiffs William Kivett and Bernard and

Lisa Bravo, who had home mortgage loans in California that Flagstar

serviced. 1-ER-8; 2-ER-209. The deeds of trust securing those loans

required escrow accounts. 1-ER-7-8. According to OCC regulations and

Flagstar’s understanding of applicable law, Flagstar did not pay interest

on the amounts held in escrow for either loan. 1-ER-5-6.

      Plaintiffs filed this putative class action asserting that California

Civil Code § 2954.8(a) applied to Flagstar and that the company’s

nonpayment of interest on California mortgage escrow accounts was an

“unlawful . . . business act or practice” under California’s Unfair




2 At the litigation’s outset, Flagstar was Flagstar Bank, FSB, a federally

chartered savings bank. It converted to a federally chartered national
bank on December 1, 2022. Dodd-Frank’s preemption standard applies
to all federally chartered banks, including savings banks. See 12 U.S.C.
§ 25b(a)(1), (b)(1)(B) (defining “national banks” to include “any bank
organized under the laws of the United States” and applying Barnett
Bank preemption standard to all national banks).

                                       8
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 16 of 52




Competition Law. Cal. Bus. & Prof. Code § 17200. In response, Flagstar

argued that Section 2954.8(a) was preempted as applied to national

banks because it would significantly interfere with the exercise of

national banking powers. 2-ER-179-80, 146.

     The district court certified a class of California borrowers, rejected

Flagstar’s preemption argument, and granted Plaintiffs’ motion for

summary judgment on liability, holding Flagstar liable for failing to pay

interest on class members’ escrowed funds. 1-ER-34. The court enjoined

Flagstar to pay interest going forward and awarded the class around $9

million in restitution and prejudgment interest. 1-ER-3, 1-ER-32.

     On appeal, the panel affirmed the district court’s preemption

holding based on an earlier decision by a three-judge panel in Lusnak v.

Bank of America, N.A., 883 F.3d 1185 (9th Cir. 2018). See ECF No. 48 at

5. Lusnak held that the NBA did not preempt Section 2954.8(a) as

applied to similar claims against another national bank. 883 F.3d at

1194-97. The Lusnak panel relied on Dodd-Frank’s TILA amendment

requiring creditors to pay interest on escrow accounts associated with

higher-cost mortgages, “if prescribed by applicable State or Federal law.”

15 U.S.C. § 1639d(g)(3).        The panel acknowledged that, as here,



                                       9
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 17 of 52




Section 1639d did not apply to the plaintiffs’ loans, yet viewed the

provision as “express[ing] Congress’s view that [state IOE] laws would

not necessarily prevent or significantly interfere with a national bank’s

operations.” Lusnak, 883 F.3d at 1194-95. On that basis, it held that

Section 2954.8(a) was not preempted. Id. at 1197.

     In this case, Flagstar preserved its argument on appeal that

Lusnak was wrongly decided. See Op. Br. 31-32. But recognizing that

Lusnak was then-binding authority, see id. at 32 n.8, Flagstar primarily

focused on how far Lusnak extended.            Flagstar argued that Lusnak

should not be controlling as to smaller banks like Flagstar and should

not necessarily control on a different evidentiary record. See Op. Br. 24-

31. The panel disagreed. It viewed “Lusnak’s language [as] unqualified.”

ECF No. 48 at 3. And it held that, under Lusnak, Flagstar “could not

succeed in arguing that § 2954.8 was preempted by the NBA.” Id.

III. The Supreme Court provides new guidance on NBA
     preemption of state IOE laws.

     Shortly after the panel’s initial decision in this case, the Second

Circuit reached a contrary conclusion about preemption of New York’s

similar IOE law. In Cantero v. Bank of America, N.A., 49 F.4th 121 (2d

Cir. 2022), the Second Circuit found “incorrect” Lusnak’s nearly


                                       10
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 18 of 52




categorical view “that the TILA amendments somehow reflected

Congress’s judgment that all escrow accounts . . . must be subject to

[state IOE] laws.” Id. at 137. The court adopted a converse, nearly

categorical rule that the NBA preempted any state law that “would exert

control over a banking power.” Id. at 132.

     Both Flagstar and the Cantero plaintiffs petitioned the Supreme

Court for certiorari to resolve the conflict. In their cert.-stage briefing,

the Cantero plaintiffs and Plaintiffs here continued to invoke and defend

Lusnak and the TILA theory. See Pet. for Writ of Certiorari at 23-24,

Cantero v. Bank of Am., N.A., No. 22-529 (U.S. Dec. 5, 2022); Br. in Op.

at 14, Flagstar Bank, N.A. v. Kivett, No. 22-349 (U.S. Dec. 13, 2022).

When the Solicitor General weighed in at the Court’s invitation, however,

she argued that Cantero, Lusnak, and the panel’s initial decision here all

erred in their approach to preemption. In the United States’ view, while

Cantero’s rule was too broad, Lusnak and the panel here likewise “erred

in treating Section 1639d as determinative of the preemption question.”

U.S. Br. at 20, Flagstar Bank, N.A. v. Kivett, Nos. 22-349 and 22-529 (U.S.

Aug. 30, 2023).




                                       11
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 19 of 52




     The Supreme Court granted certiorari in Cantero and held

Flagstar’s petition. At the merits stage, the Cantero plaintiffs abandoned

express reliance on Lusnak’s unqualified view of TILA, arguing only that

Section 1639d provides some evidence of a lack of significant

interference. Petrs.’ Br. at 43, Cantero v. Bank of Am., N.A., No. 22-529

(U.S. Dec. 8, 2023). Meanwhile, the United States, while supporting the

plaintiffs on the merits, never even mentioned TILA or Section 1639d.

See U.S. Br. at 21-34, Cantero v. Bank of Am., N.A., No. 22-529 (U.S. Dec.

15, 2023).

     Ultimately, the Supreme Court declined to adopt either side’s

approach. See Cantero, 602 U.S. at 221 (describing parties’ positions as

“opposite extreme[s]”).      And it eschewed any reliance on TILA—

referencing Section 1639d in its opinion only to note that “[a]ll parties

agree[d] that § 1639d d[id] not apply to the mortgages in this case.” Id.

at 211 n.1.

     The Supreme Court held instead that in applying Dodd-Frank’s

codified Barnett Bank standard, courts must conduct a “nuanced

comparative analysis” lining up the challenged state law against those

the Supreme Court had examined in its precedents “on which Barnett



                                       12
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 20 of 52




Bank relied.” Id. at 220. It is those precedents, the Court explained, not

Section 1639d, that “furnish content to Barnett Bank’s significant-

interference test—and therefore also to Dodd-Frank’s preemption

standard incorporating Barnett Bank.” Id. at 219. Thus, in deciding

whether a state consumer financial law “prevents or significantly

interferes with the exercise by [a] national bank of its powers,” 12 U.S.C.

§ 25b(b)(1)(B), courts must “do as Barnett Bank did”: they must “take

account of [the Supreme Court’s] prior decisions . . . and similar

precedents” addressing NBA preemption to “make a practical assessment

of the nature and degree of the interference caused by [the] state law.”

Cantero, 602 U.S. at 215-16, 219-20.

     Because the Second Circuit had not conducted this analysis, the

Supreme Court vacated and remanded for further proceedings consistent

with its decision. Id. at 221. Soon after, the Supreme Court granted

Flagstar’s cert. petition, vacated the panel’s initial decision, and

remanded “for further consideration in light of Cantero.” Flagstar Bank,

N.A. v. Kivett, No. 22-349 (U.S. June 10, 2024).

     On remand, the panel here issued a new memorandum disposition

holding, as it had before, that Lusnak’s “unqualified” language controlled



                                       13
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 21 of 52




and thus Section 2954.8 was not preempted. ECF No. 61. Flagstar

petitioned for panel rehearing and, in the alternative, rehearing en banc,

arguing that Lusnak is “clearly irreconcilable” with Cantero and that

Section 2954.8(a) is prempted under Cantero. ECF No. 66.

     Over Plaintiffs’ opposition—and assertion that Lusnak remains

controlling—the panel granted the petition for panel rehearing, withdrew

its memorandum disposition of August 22, 2024, and ordered the parties

to file simultaneous supplemental briefs “addressing whether California

Civil Code § 2954.8(a) is preempted by the National Bank Act under the

standard and methodology described in Cantero.” ECF No. 75.

                                ARGUMENT

I.   California Civil Code § 2954.8(a) is preempted.

     Under the standard and methodology described in Cantero, Section

2954.8(a) significantly interferes with national banks’ exercise of their

federal powers and is thus preempted.

     A.    Cantero requires a “nuanced comparative analysis”
           assessing similarity to other preempted and non-
           preempted state laws.

     Cantero makes clear that, under Barnett Bank’s now-codified “legal

standard for preemption,” preemption is decided by examining the

“nature and degree of the interference” posed by a state law “based on

                                       14
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 22 of 52




the text and structure of the [federal and state] laws, comparison to other

precedents, and common sense.” Cantero, 602 U.S. at 214, 219-20 & n.3.

Rather than employ any “categorical test” dividing preempted state laws

from non-preempted ones by a “clear line,” courts must engage in a more

careful “comparative analysis” assessing, in the same manner that

“Barnett Bank did,” the relevant state law in light of previous ones the

Supreme Court has examined. Id. at 215-16, 220. Because “Barnett

Bank sought to carefully account for and navigate [the Supreme] Court’s

prior bank preemption cases” to determine “whether a state law

regulating national banks falls on the permissible or preempted side of

the significant-interference line,” lower courts confronting preemption

questions must do the same. Id. at 219, 221. Only by performing this

“practical assessment of the nature and degree of interference caused by

a state law” as it compares to previously addressed laws, Cantero

emphasized, may courts answer the legal question of NBA preemption.

Id. at 219-20.

     Cantero identified the precedents most relevant to this analysis.

Franklin National Bank of Franklin Square v. New York, 347 U.S. 373

(1954), and Fidelity Federal Savings & Loan Association v. De la Cuesta,



                                       15
       Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 23 of 52




458 U.S. 141 (1982), along with “the other precedents on which Barnett

Bank relied,” “together illustrate the kinds of state laws that significantly

interfere with the exercise of a national bank power and thus are

preempted.” Id. at 217, 220. Meanwhile, Anderson National Bank v.

Luckett, 321 U.S. 233 (1944), National Bank v. Commonwealth, 76 U.S.

(9 Wall.) 353 (1869), and McClellan v. Chipman, 164 U.S. 347 (1896),

reflect “the kinds of state-law interference that are not ‘significant’ and

that are therefore not preempted.”           Id. at 217-19.    If a “state law’s

interference with national bank powers is more akin to the interference

in” the first set of cases, it is preempted; if it’s more like the interference

in the latter three, it is not. Id. at 220.

      Cantero       and   these   precedents      further     demonstrate      the

“comparative analysis” courts must undertake. Id. at 220. Applying the

significant-interference test “as Barnett Bank did” requires comparing

the kind of interference the state law poses to the kinds of interference

the Court has found to fall on either side of the permissible/preempted

line. Id. at 215.

      In Barnett Bank, for example, the Supreme Court held that a

Florida law preventing banks from selling insurance in small towns “was



                                        16
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 24 of 52




preempted because the law significantly interfered with the national

bank’s ability to exercise a power—selling insurance—authorized by

federal law.” Cantero, 602 U.S. at 214.          Federal law, Barnett Bank

explained, “explicitly granted a national bank an authorization,

permission, or power” to sell insurance “with no indication that Congress

intended to subject that power to local restriction.” Id. at 215 (quoting

Barnett Bank, 517 U.S. at 34-35). By prohibiting the sale of insurance in

small towns, the Florida law impermissibly “interfere[d] with the

national bank’s ability to” exercise its federal banking powers

“efficiently.” Id. at 215-16.

      In reaching that conclusion, the Barnett Bank Court acknowledged

that the federal and state laws “[did] not impose directly conflicting

duties on national banks”—that is, federal law did not say, “banks must

sell insurance” while state law said, “banks may not.” Id. And the Court

did not ask how many sales the bank might lose if it had to comply with

the state law, or what other costs that state regulation might impose on

the bank. The potential costs of compliance were not what mattered.

What mattered was, as Cantero explained, that federal law had granted

national banks a broad, unqualified power to sell insurance that the state



                                       17
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 25 of 52




law “could not limit” by restricting banks’ insurance sales to certain areas

while barring it in small towns. Id. at 215.

     Similarly, in Franklin, where a state law prohibited banks from

using the word “savings” in advertising, the trial court had “accumulated

a large record devoted mainly to the merits and demerits of the New York

legislation and its consequences upon banks and depositors.” 347 U.S. at

376. But the Supreme Court did not rely on that record to decide that

the state law significantly interfered with the (express and incidental)

federal banking powers to accept and advertise acceptance of savings

deposits.   In fact, the Court gave no weight to those empirical

“consequences” in deciding the legal preemption question before it. Id. at

376. Instead, the Court rested on the legal conclusion that in authorizing

the “national bank to engage in a business,” Congress also implicitly

authorized the bank “to let the public know about it,” and the state law

wrongly interfered with that authority. Id. at 377-78.

     The Court’s analysis in Barnett Bank, Franklin, and Cantero thus

reflects that it is the type of interference involved that matters for NBA

preemption. Preemption does not turn on whether national banks could

comply with both federal and state law in theory, nor on what compliance



                                       18
          Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 26 of 52




with the state law would cost any individual bank or national banks as a

whole. State laws are preempted when they limit, in the same manner

as the laws the Supreme Court has held preempted, the exercise of

national banking powers that Congress did not intend to subject to such

state restrictions.       Barnett Bank, 517 U.S. at 31.            In other words,

determining whether a state law “significantly interfere[s] with the

exercise of a national banking power and thus [is] preempted” involves a

qualitative inquiry into a state law’s interaction with federal banking

powers, not a quantitative assessment of any one law’s impact on any one

bank.       Cantero, 602 U.S. at 217; see also id. at 219 (preemption

determination focuses on “whether a state law regulating national banks

falls on the permissible or preempted side of the significant-interference

line”).

      This approach makes sense. Congress enacted the NBA to establish

an independent, uniform national banking system. See Watters, 550 U.S.

at 13-14 (observing that Congress designed the NBA to avoid “[d]iverse

and duplicative” state regulation of national banking activities); Talbott

v. Bd. of Cnty. Comm’rs, 139 U.S. 438, 443 (1891) (“[T]he character of the

system implies[] an intent to create a national banking system . . . with



                                           19
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 27 of 52




uniform operation.”). If NBA preemption hinged on case-specific facts

about compliance costs rather than a qualitative analysis of how a “state

law[] interfere[s] with national bank powers,” Cantero, 602 U.S. at 220,

courts could—and almost certainly would—reach different conclusions

about preemption of the same laws. Identical IOE laws might be held

preempted in one court and upheld in another, with national banks that

operate across the fifty states unclear about their obligations across

jurisdictions.   Such a result would powerfully undermine Congress’s

intent to create a nationally uniform banking system.

     B.    California Civil    Code § 2954.8(a) significantly
           interferes with a national bank’s exercise of federal
           banking powers.

     The National Bank Act preempts California Civil Code § 2954.8(a)

because that state law, and its relationship with the federal banking

powers at issue, parallels the kinds of interference imposed by those state

laws that the Supreme Court has found preempted and is distinct from

those the Court has found permissible.

           1.     National banks have broad authority                         to
                  administer mortgage escrow accounts.

     As Cantero emphasized, “federal law’s ‘grants of both enumerated

and incidental powers to national banks’ are ‘grants of authority not


                                       20
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 28 of 52




normally limited by, but rather ordinarily pre-empting, contrary state

law.’” 602 U.S. at 215 (quoting Barnett Bank, 517 U.S. at 32). Indeed,

“where Congress has not expressly conditioned the grant of [a national

banking] ‘power’ upon a grant of state permission, the Court has

ordinarily found that no such condition applies.” Barnett Bank, 517 U.S.

at 34. In Barnett Bank, for example, federal law gave national banks “a

broad, not a limited, permission” to sell insurance, including the “added

‘incidental power’” to sell insurance in small towns—with “incidental”

itself a term “suggest[ing] freedom from conflicting state regulation.” Id.

at 32, 37. The Supreme Court thus presumed that the federal authority

of “small town national banks . . . to sell insurance” obtained “whether or

not a State” granted “similar approval.” Id. at 37.

     The same presumption should apply here.               Federal law grants

national banks expansive, unqualified authority to engage in mortgage

lending, including by administering mortgage escrow accounts. The NBA

broadly provides that “any national banking association may make,

arrange, purchase or sell loans or extensions of credit secured by liens on

interests in real estate.” 12 U.S.C. § 371(a). And it conditions that

authority only on federal regulations prescribed under 12 U.S.C.



                                       21
       Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 29 of 52




§ 1828(o) and any other “such restrictions and requirements as the

[federal OCC] may prescribe.” Id.

       The NBA also expressly authorizes national banks to exercise “all

such incidental powers as shall be necessary to carry on the business of

banking.” Id. § 24. OCC guidance confirms—and no one here disputes—

that these incidental powers include the authority to provide, establish,

and service associated mortgage escrow accounts.               OCC Interpretive

Letter No. 1041, 2005 WL 3629258, at *2. Again, nothing in the NBA or

in OCC guidance contemplates that such powers should be subject to

local restrictions. Cf. 12 C.F.R. § 34.4(a) (“A national bank may make

real   estate    loans . . . , without   regard   to   state    law   limitations

concerning . . . [e]scrow accounts.”). The relevant federal laws here thus

number among those that “ordinarily preempt[] contrary state law.”

Cantero, 602 U.S. at 215.

            2.     California Civil Code § 2954.8(a) burdens that
                   broad authority in a similar manner as other
                   preempted state laws.

       California’s IOE law significantly interferes with national banks’

ability to exercise these broad, unqualified federal banking powers in a




                                         22
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 30 of 52




manner analogous to the state laws considered in the precedents Barnett

Bank relied on: Franklin, Fidelity, and Easton.

     Franklin. The Supreme Court’s decision in Franklin National

Bank v. New York, 347 U.S. 373 (1954), is the most damning for

California’s IOE law.       Franklin concerned a state-law advertising

regulation that Cantero identified as “the paradigmatic example of

significant interference.” 602 U.S. at 216. As noted, the New York law

“prohibited most banks ‘from using the word saving or savings in their

advertising or business.’”      Id. (quoting Franklin, 347 U.S. at 374).

“Importantly,” however, as Cantero observed, “the New York law did not

bar national banks from receiving savings deposits, ‘or even’ from

‘advertising that fact.’” Id. (quoting Franklin, 374 U.S. at 378). It simply

required that when banks advertised their deposit accounts, they did so

without using the term “savings.”

     As Cantero explained, that regulation on advertising “significantly

interfered” with the bank’s “statutory power ‘to receive savings deposits.’”

Id. Because the bank could not advertise those accounts “‘using the

commonly understood description which Congress ha[d] specifically

selected’ to describe their activities: receiving savings deposits,” the New



                                       23
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 31 of 52




York law “interfer[ed] with the national bank’s ability to [advertise]

efficiently.” Id. On that basis, it was preempted.

     California Civil Code § 2954.8(a) imposes at least as significant a

burden or interference on a national bank’s exercise of its power to

administer mortgage escrow accounts—if not more. To be sure, it does

not bar national banks from entering into mortgage loans, requiring

borrowers to make monthly payments into escrow, or administering such

mortgage escrow accounts. But neither did the New York law in Franklin

bar national banks from receiving deposits or advertising that fact. And

what California does target is far more core to a national bank’s operation

than the words it uses in its advertising.

     California’s IOE law dictates a national bank’s pricing and terms of

its mortgage products.       A federally chartered bank can only offer

mortgage escrow accounts if it does so on the terms the state law requires,

paying 2% interest to customers on escrowed funds. Section 2954.8(a) is

thus no less intrusive than a law instructing a national bank that it must

pay interest and what interest rate to pay on traditional savings

accounts.   Indeed, mortgage escrow accounts are a form of savings

account. And not only that. Section 2954.8(a) sets the required interest



                                       24
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 32 of 52




rate at a level many times more than what the market would otherwise

demand for such accounts. 3

     No one could think, reading Franklin (or Cantero’s description of

that case), that the codified Barnett Bank standard would permit such a

state law. If a State cannot remove one word from a bank’s options for

advertising its savings accounts, it plainly cannot set the core terms of

an account itself, including by requiring an above-market interest rate.

Yet Section 2954.8 does exactly that. It thereby prevents national banks

from efficiently exercising their mortgage lending powers just as the law

in Franklin did.

     Fidelity. The significant interference found in Fidelity Federal

Savings & Loan Association v. De la Cuesta, 458 U.S. 141 (1982), further

demonstrates that Section 2954.8(a) cannot stand. There, federal law

authorized federal savings and loans to include and enforce due-on-sale

clauses in their contracts. Id. at 155. “But California law ‘limited’ that


3 See Br. of Amici Curiae Bank Policy Institute et al., Bank of Am., N.A.

v. Lusnak, No. 18-212, 2018 WL 4464737, at *12 (Sept. 17, 2018) (noting
that a 2% interest rate was “six times higher than the long-run
average . . . by FDIC-insured U.S. depository institutions on certificates
of deposit”); FDIC, National Rate on Non-Jumbo Deposits (less than
$100,000): 12-Month CD (Mar. 29, 2021), https://fred.stlouisfed.org/
series/CD12NRNJ.

                                       25
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 33 of 52




right to circumstances where the federal savings and loan association

could make a showing that enforcing the due-on-sale clause was

reasonably necessary.” Cantero, 602 U.S. at 216-17 (quoting Fidelity, 458

U.S. at 154-55).     As in Franklin, “[t]he federal savings and loan

association could readily comply with both the state and federal laws.”

Id. at 217. Still, “the California law was preempted because the savings

and loan could not exercise a due-on-sale clause ‘solely at its option.’” Id.

(quoting Fidelity, 458 U.S. at 155). As Cantero explained, the law thus

impermissibly “interfered with ‘the flexiblity given’ to the savings and

loan by federal law.” Id.

     Like the California law in Fidelity, Section 2954.8(a) limits national

banks’ broad authority to set the pricing terms of their mortgage escrow

accounts solely at their option. This state-law mandate interferes with

the flexibility that federal law gives national banks in setting those

terms. Under federal law, national banks may always choose to pay

interest on escrow in some amount. But nothing in federal law requires

them to do so—much less do so at varying levels determined by different

States. See Cantero, 602 U.S. at 211; see also supra pp. 6-7. Such a

mandate is entirely, and purposefully, absent from the detailed web of



                                       26
       Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 34 of 52




obligations RESPA and Regulation X impose on national banks with

respect to mortgage escrow accounts. See supra pp. 5-6.

      To be sure, TILA does require national banks (and all other

creditors) to establish mortgage escrow accounts for certain higher-priced

mortgage loans.       See 15 U.S.C. § 1639d(a)-(b).          And where those

provisions apply, TILA requires that the creditor pay interest on those

accounts “if prescribed by applicable State or Federal Law.”                   Id.

§ 1639d(g)(3). But Plaintiffs have never argued that their mortgages fit

within that category. Indeed, the Bravos have affirmatively conceded

that their loan was not governed by Section 1639d(g)(3). 4 And outside

that category, TILA allows lenders to decide the terms of the escrow

accounts they administer. See id. § 1639d(f)(1)-(2) (allowing other escrow

accounts as “mutually agreeable to the parties to the loan” or “at the

discretion of the lender or servicer”). 5


4 The Bravos asserted in their summary judgment briefing that Flagstar

“required them to establish [a]n escrow account as a condition of the[ir]
loan” under TILA’s Section 1639d(f)(2), not (g)(3). 2-ER-134. TILA’s
Section 1639d(f)(2) applies to mortgages “not covered by” Section
1639d(g)(3), and authorizes lenders to establish escrow accounts for those
loans “at [their] discretion.” 15 U.S.C. § 1639d(f)(2) (emphasis added).
5 Moroever, although the issue is not directly presented here, Flagstar’s

view is that, even where it applies, Section 1639d(g)(3) would not require
a national bank like Flagstar to pay interest on escrow under any state

                                        27
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 35 of 52




     In short, federal law leaves to national banks a “range of choices”

about whether and at what level to pay interest on mortgage escrow

funds. Cf. Geier v. Am. Honda Motor Co., Inc., 529 U.S. 861, 875 (2000).

Because California’s law would limit those choices to one mandate—pay

interest on escrow at the rate of 2%—it impermissibly inhibits the

flexibility that federal law provides. As the OCC has recognized following

Cantero, state laws that “frustrate[] national banks’ ability to effectively

and efficiently discharge authorized powers and limit[] the flexibility

given to them under federal law” are preempted. OCC Br. at 10, Ill.

Bankers Ass’n v. Raoul, No. 1:24-cv-07307 (N.D. Ill. Oct. 2, 2024). Section

2954.8(a) is such a law.

     Easton. Barnett Bank’s reliance on Easton v. Iowa, 188 U.S. 220

(1903), reinforces this point. See Barnett Bank, 517 U.S. at 32, 37, 42



law. By its own terms, Section 1639d(g)(3) recognizes that different laws
apply to the different creditors the statute governs—a group that ranges
from national banks to nonbank lenders governed by state law—and that
those different legal schemes may, or may not, require particular lenders
to pay interest on particular types of escrow accounts. The most
straightforward reading of this provision is that Congress recognized
that national banks would be subject to federal laws, which currently do
not require paying interest on escrow, while other lenders would be
subject to state laws that might. In other words, as it pertains to a
national bank, a preempted state law is not “applicable.”


                                       28
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 36 of 52




(citing Easton). In Easton, the Supreme Court held preempted an Iowa

criminal law prohibiting bankers from accepting deposits when insolvent.

Easton, 188 U.S. at 227. Although federal law did not expressly prohibit

the same conduct, it contained “apt provisions, sanctioned by severe

penalties, which [were] intended to protect the depositors and other

creditors of national banks from fraudulent banking.” Id. at 230. The

Supreme Court held that because “Congress ha[d] provided a

symmetrical and complete scheme” governing insolvency and related

banking issues, that federal policy could not “be overridden by the policy

of the state,” and the state law was preempted. Id. at 232. The same is

true here. The “delicate balance of statutory [and regulatory] objectives”

struck by RESPA and Regulation Z’s extensive regulations—which do not

require paying interest on escrow for the loans here—would be “skewed”

by applying state law to impose a requirement federal law omits. Cf.

Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 348 (2001).

           3.    California Civil Code § 2954.8(a)                   does     not
                 resemble non-preempted state laws.

     On the other hand, California Civil Code § 2954.8(a) is unlike the

types of state laws or interference that the Supreme Court has held are

permissible rather than preempted.


                                       29
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 37 of 52




     Anderson.      Section 2954.8(a) is nothing like the escheat law

considered in Anderson National Bank v. Luckett, 321 U.S. 233 (1944).

That Kentucky law required banks only “to turn over abandoned deposits

to the State.” Cantero, 602 U.S. at 217 (citing Anderson, 321 U.S. at 236)

(emphasis added). The Supreme Court observed that “an inseparable

incident” of a national bank’s federal power to accept deposits is the

“obligation to pay” those deposits “to the persons entitled to demand

payment according to the law of the state where [the bank] does

business.” Anderson, 321 U.S. at 248-49. “[T]he Kentucky law simply

allowed the State to ‘demand payment of the accounts in the same way

and to the same extent that the depositors could’ after the depositors

abandoned the account.” Cantero, 602 U.S. at 217-18 (quoting Anderson,

321 U.S. at 249). Because the state law merely embodied a principle “as

old as the common law itself,” it did not “impose an undue burden on the

performance of the banks’ functions.” Anderson, 321 U.S. at 248, 251.

Instead, its requirement to release deposits entailed “nothing more than

performance of a duty by the bank [already] imposed by the federal

banking laws.” Id. at 251-52.




                                       30
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 38 of 52




     By contrast, the state escheat law in First National Bank of San

Jose v. California, 262 U.S. 366 (1923) allowed the State to claim deposits

at a national bank that had gone “unclaimed for more than twenty years,”

without proof the account had been abandoned. Cantero, 602 U.S. at 218

(quoting First National, 262 U.S. 366). Because that law did not require

proof of abandonment, it “attempt[ed] to qualify in an unusual way

agreements between national banks and their customers.” Id. (quoting

First National, 262 U.S. at 370). As Cantero observed, this unusual

qualification, in turn, “could cause customers to ‘hesitate’ before

depositing funds at the bank—and thus interfere with the ‘efficiency’ of

the national bank in receiving deposits.” Id. (quoting First National, 262

U.S. at 369-70).

     California Civil Code § 2954.8(a) is more akin to the law in First

National than the one in Anderson. It modifies the terms of mortgage

lending agreements between national banks and their customers by

adding the requirement that the banks pay state-specified interest on

escrow funds.      As RESPA and Regulation X demonstrate, this

requirement is not some “inseparable incident” of banks’ mortgage

lending powers, nor does it entail simply performing a duty federal law



                                       31
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 39 of 52




already imposes. Anderson, 321 U.S. at 248. It is a new condition that

state law imposes on national banks, beyond their usual federal

obligations. And it is one that will impact national banks’ abilities to

efficiently and effectively exercise their mortgage lending powers.

     Commonwealth.          The Kentucky law that the Supreme Court

allowed to stand in National Bank v. Commonwealth, 76 U.S. (9 Wall.)

353 (1869), also differs substantially from Section 2954.8(a).                The

Kentucky law taxed the shareholders of all banks, including national

banks. Id. at 360. But Congress had, in the NBA, “expressly permitted

the States to levy” such taxes. Id. at 363. The Supreme Court thus saw

no significant interference in banks “being required to pay the tax which

their stockholders owe to the State . . . , when the law of the Federal

government authorizes the tax.” Id. at 362. What is more, as Cantero

emphasized, the Kentucky law simply “governed [banks] in ‘their daily

course of business,’” just like other “generally applicable state contract,

property, and debt-collection laws.” Cantero, 602 U.S. at 219 (quoting

Commonwealth, 76 U.S. at 361-62). It “produced ‘no greater interference

with the functions of the bank than any other’ law governing businesses,”

and was thus not preempted. Id. (quoting Commonwealth, 76 U.S. at



                                       32
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 40 of 52




362-63). California’s IOE law is not “expressly permitted” by federal law

for the mortgage escrow accounts at issue. Nor is it a generally applicable

law governing standard business operations. Commonwealth, 76 U.S. at

363. It is a banking-specific regulation of a national bank’s exercise of

federal banking powers.

     McClellan. Finally, McClellan v. Chipman, 164 U.S. 347 (1896),

likewise provides Plaintiffs no support.             McClellan concerned a

Massachusetts fraudulent-conveyance law that voided any transfer of

property by any person or entity—not just banks—in cases of insolvency.

164 U.S. at 348-49. The law was another “generally applicable contract

law.” Cantero, 602 U.S. at 219. The McClellan Court recognized that

even such a generally applicable law might act as an impermissible

“restraint upon the power of a national bank within the State to make

such contracts.” Cantero, 602 U.S. at 219 (quoting McClellan, 164 U.S.

at 358). But it held that the Massachusetts law did not do so because

“[n]o function of such banks is destroyed or hampered by allowing the

banks to exercise the power to take real estate, provided only they do so

under the same conditions and restrictions to which all the other citizens

of the state are subjected.” McClellan, 164 U.S. at 358. California’s IOE



                                       33
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 41 of 52




law is different: it speaks directly to banks and to the exercise of federal

banking powers in mortgage lending. And, because it restricts the latter

in a way federal law does not permit, it is preempted.

     C.    Sound federal            banking       policy      confirms        that
           conclusion.

     The practical implications of applying California Civil Code

§ 2954.8(a) to national banks make clear that the law significantly

interferes with the exercise of federal banking powers.

     1.    Permitting California’s IOE law to apply to national banks

would subject such banks, which operate across the country, to disparate

state IOE requirements. Applying that confusing patchwork of state

laws to national banks would sow the disuniformity that the codified

Barnett Bank standard guards against.

     It is not just California’s law implicated here. At least twelve States

including California require banks to pay interest on mortgage escrow

funds. See supra at p. 6. None of these laws is identical to another. They

all diverge in the amount of interest they require to be paid and for which

types of residential loans. Connecticut, for example, bases the required

interest rate on the deposit index, Maryland on the one-year Treasury

rate, and Rhode Island on the bank’s savings-account rate, while Utah


                                       34
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 42 of 52




gives three ways to calculate the required interest. See Conn. Gen. Stat.

§ 49-2a; Md. Code Ann., Com. Law § 12-109(b)(1); R.I. Gen. Laws § 19-9-

2; Utah Code Ann. § 7-17-3. Meanwhile, Maryland and New Hampshire’s

laws cover “any interest in residential real property,” Md. Code Ann.,

Com. Law § 12-109(b)(1), N.H. Rev. Stat. Ann. § 383-B:3-303(a)(7)(E);

while Minnesota’s (like California’s) covers one-to-four family homes,

Minn. Stat. § 47.20, subdiv. 9(a); and New York’s applies to one-to-six-

family homes plus co-op apartments, N.Y. G.O.L. § 5-601. More such

laws could proliferate if courts do not properly apply NBA preemption.

     Congress did not “intend[] to permit such results.” First National,

262 U.S. at 370; see id. (expressing concern about “varying limitations”

states could enact to seize deposits).        Such “inconsistent . . . state

regulation,” particularly when it “intrusive[ly]” limits the exercise of

national bank powers, would “impair[] the national system” of banking

Congress sought to create in enacting the NBA. Watters, 550 U.S. at 11.

The NBA aimed to “erect[] . . . a [banking] system extending throughout

the country, and independent . . . of state legislation which, if permitted

to be applicable, might impose limitations and restrictions as various and

as numerous as the states.” Easton, 188 U.S. at 229. National banks are



                                       35
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 43 of 52




meant to operate free of varying state regulations that restrict the

exercise of their powers, and the same applies to Section 2954.8(a).

     2.    The deleterious consequences for the federal banking system,

moreover, cannot be contained to IOE laws. If States can dictate the

interest rates that national banks must pay on mortgage escrow

accounts, there is no apparent obstacle to a State dictating interest rates

on savings, certificate of deposit, or other accounts or mandating the

pricing of other banking products and services. Cf. Br. of the Bank Policy

Institute, et al., at 3, Cantero v. Bank of America, N.A., No. 21-400 (2d

Cir. Oct. 25, 2024) (“This Court’s decision could impact State attempts to

set price controls on many other core national bank products, such as

loan rates and checking account interest.”). Allowing such intrusive state

regulation here would open the door to all kinds of other state regulations

and restrictions Dodd-Frank’s preemption standard does not permit.

     As a matter of common sense, these extreme directives would have

serious consequences. “Maintaining a safe and sound [national] banking

system” is mission critical for federal regulators and federal banks. 12

C.F.R. § 5.20(f)(i). As the OCC has recognized, “the safety and soundness

of banks depends in significant part on their ability to devise price



                                       36
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 44 of 52




structures appropriate for their needs.”           OCC, Interpretive Ruling

Concerning National Bank Service Charges, 48 Fed. Reg. 54,319 (Dec. 2,

1983). Should national banks be limited in their ability to flexibly and

efficiently manage mortgage escrow accounts, a critical risk mitigation

tool—indeed, if they are unable to set their own terms and pricing for

such accounts—they will also be hampered in their efforts to effectively

manage risk.     See id. (“[S]tate law impediments to national bank

flexibility have potentially serious implications for their continued safety

and soundness”).

     National banks may also have to change aspects of their mortgage

lending operations. Basic principles of economics and risk management

dictate that if banks are required to structure their products in a certain

way or pay a required interest rate to customers, banks may end up

limiting who they lend to, changing the terms on which they lend, or

increasing the interest rates at which they lend. The costs that Section

2954.8(a) imposes on banks are likely to be passed on to consumers and

the market more generally, while banks’ ability to service that market

may also be impacted. Not only do those potential outcomes reflect




                                       37
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 45 of 52




significant impairment of national banks’ ability to effectively exercise

their powers, but they are bad for consumers and the entire market.

II.   This Court’s pre-Cantero decision in Lusnak cannot save
      California Civil Code § 2954.8(a).

      In response to Flagstar’s petition for rehearing, Plaintiffs insisted

that this Court’s pre-Cantero decision in Lusnak continues to control this

case. But the Supreme Court vacated the panel’s initial decision and

remanded this case “for further consideration in light of Cantero.”

Flagstar Bank, N.A. v. Kivett, No. 22-349 (U.S. June 10, 2024). This

Court should not avoid a faithful application of Cantero’s new guidance

based on a decision issued six years before the Supreme Court provided

it. Even if the Supreme Court’s mandate permits this Court to disregard

Cantero in that way, Ninth Circuit precedent does not. A Ninth Circuit

panel must reject any prior circuit opinion that is “clearly irreconcilable

with the reasoning or theory of intervening higher authority.” Miller,

335 F.3d at 893. And Lusnak is exactly that.

      The preemption analysis that Lusnak conducted is not remotely

what Cantero requires. Absent from Lusnak’s analysis is any reference

to Franklin, Fidelity, Easton, Anderson, National Bank, or McClellan,

much less any discussion about the types of laws and interference those


                                       38
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 46 of 52




cases addressed. Barnett Bank appears in Lusnak only as the source of

the significant-interference standard, divorced from any analysis of the

state law presented in that case or its similarities or differences vis-à-vis

California’s IOE law.

     Instead of a careful analysis of the Supreme Court’s precedents,

Lusnak relied on a categorical test, based on an inapplicable federal law,

that the Solicitor General rejected (agreeing with the Second Circuit in

that respect), the Cantero plaintiffs largely abandoned (as did Plaintiffs

in their merits-stage amicus brief), 6 and the Supreme Court refused to

adopt. See supra, pp. 11-12. If Cantero stands for nothing else, it is that

categorical tests are not permitted. Moreover, if TILA’s Section 1639d

established that state IOE laws were not preempted, the Supreme Court

would have said so, and reversed the Second Circuit’s decision in Cantero

outright. Instead, the Court said that everyone had it wrong, vacating

both the Second Circuit decision in Cantero and the panel’s decision here

and remanding both for reconsideration.




6 See Br. of Amicus Curiae Flagstar Plaintiffs at 8, Cantero v. Bank of

America, N.A., No. 22-529 (Dec. 15, 2023) (arguing for a “fact-bound
preemption inquiry”).

                                       39
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 47 of 52




     Because the preemption standard the Supreme Court announced in

Cantero is clearly irreconcilable with Lusnak, this Court is not bound by

and should not follow Lusnak’s holding. Lusnak must be considered as

“effectively overruled” and should play no role in the Court’s

consideration of the preemption question. Miller, 335 F.3d at 893.

     Contrary to Plaintiffs’ contention, Close v. Sotheby’s, Inc., 894 F.3d

1061 (9th Cir. 2018), does not suggest otherwise. In Close, even after the

Supreme Court’s intervening decisions, the “core of the first sale

doctrine” at issue remained intact. Id. at 1074. That the Supreme Court

had “described the doctrine in different words and applied it in different

circumstances d[id] not make the first sale doctrine clearly irreconcilable”

with existing Ninth Circuit precedent. Id. Nor did “isolated statements”

in intervening precedent “completely undermine [the] reasoning” of the

earlier Ninth Circuit decision. Id.

     Here, there is not merely “some tension” between this Court’s

precedent and intervening higher authority—to the contrary, “[t]he core

of” Lusnak’s TILA rationale is destroyed following Cantero. Id. at 1073-

74 (internal citations omitted).        Cantero “completely undermine[s]

[Lusnak’s] reasoning.” Id. It prohibits any categorical preemption rule



                                       40
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 48 of 52




where Lusnak employs one.          Cantero, 602 U.S. at 220-21.           And it

mandates a practical, precedent-based “comparative analysis” Lusnak

never used. Id. at 220.

      Indeed, Plaintiffs effectively concede that Lusnak lacks the correct

analysis by arguing that Cantero does not require assessing the Supreme

Court’s preemption precedents considered in Barnett Bank. See ECF No.

74 at 10. That argument is wrong. Cantero could not be clearer on this

point: “[C]ourts addressing preemption questions in this context must do

as Barnett Bank did and likewise take account of those prior [preemption]

decisions of this Court and similar precedent.” Cantero, 602 U.S. at 215-

16 (emphasis added). Because Lusnak did not decide preemption the way

Cantero requires, it is overruled.

     That the Supreme Court did not expressly identify Lusnak as

abrogated in Cantero does not undermine this conclusion. The Court held

the petition for certiorari in this case pending the Cantero decision

because it presented the same issue, but its reasoning and facts were not

argued on the merits. To be sure, the Court was aware of Lusnak and its

rationale, as both were extensively discussed in cert.-stage briefing. And

it was just as aware that the Cantero plaintiffs, having previously relied



                                       41
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 49 of 52




on Lusnak, had largely abandoned its reasoning, and that the Solicitor

General had affirmatively rejected it. But the Supreme Court is not in

the business of regularly cataloging all the lower court cases that its

decisions abrogate. What matters is not whether the Supreme Court

called out Lusnak by name, but (1) the Court’s articulation of a standard

and methodology incompatible with Lusnak’s approach and (2) the

Court’s treatment of Section 1639d(g)(3)—the linchpin of Lusnak’s

analysis—as irrelevant.

                               CONCLUSION

     For these reasons, this Court should hold that California Civil Code

§ 2954.8(a) is preempted, reverse the district court court’s judgment on

that ground, and remand with instructions to enter judgment for

Flagstar.



Dated: February 6, 2025              Respectfully submitted,

                                     /s/ Jonathan Y. Ellis
                                     Jonathan Y. Ellis
                                     MCGUIREWOODS LLP
                                     501 Fayetteville Street
                                     Suite 500
                                     Raleigh, NC 27601
                                     T: (919) 755-6688
                                     jellis@mcguirewoods.com


                                       42
Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 50 of 52




                               Kathryn M. Barber
                               Brian D. Schmalzbach
                               MCGUIREWOODS LLP
                               Gateway Plaza
                               800 E Canal Street
                               Richmond, VA 23219
                               T: (804) 775-1227
                               kbarber@mcguirewoods.com
                               bschmalzbach@mcguirewoods.com

                               David C. Powell
                               MCGUIREWOODS LLP
                               Two Embarcadero Center
                               Suite 1300
                               San Francisco, CA 94111
                               T: (415) 844-1970
                               dpowell@mcguirewoods.com

                               Counsel for Appellant Flagstar Bank,
                               N.A.




                                 43
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 51 of 52




                  CERTIFICATE OF COMPLIANCE

     1.    This brief complies with this Court’s Order of December 24,

2024 because it contains 8,361 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f).

     2.    This brief complies with the typeface and type-style

requirements of Fed. R. App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6)

because it has been prepared in proportionally spaced Century

Schoolbook typeface using Microsoft Word, in 14-point size.



Dated: February 6, 2025              /s/ Jonathan Y. Ellis
                                     Jonathan Y. Ellis

                                     Counsel for Appellant Flagstar Bank,
                                     N.A.




                                       44
      Case: 21-15667, 02/06/2025, ID: 12921112, DktEntry: 89, Page 52 of 52




                     CERTIFICATE OF SERVICE

     I hereby certify that on February 6, 2025, I electronically

transmitted this document to the Clerk’s Office using the CM/ECF

System, which will accomplish service on all counsel of record.



Dated: February 6, 2025              /s/ Jonathan Y. Ellis
                                     Jonathan Y. Ellis

                                     Counsel for Appellant Flagstar Bank,
                                     N.A.




                                       45
